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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

AFT MICHIGAN,

      Plaintiff,
                                                      Case No. 17-13292
v.                                                    Honorable Linda V. Parker

PROJECT VERITAS et al

     Defendants.
________________________________/


         NOTICE TO APPEAR FOR TELEPHONIC STATUS CONFERENCE


      YOU ARE NOTIFIED TO APPEAR BY TELEPHONE ON May 7, 2018 at 1:00

PM for Telephonic Status Conference. Counsel shall call the Court’s toll free

conference line at 1-888-808-6929 and use Access Code 8141695.




Dated: May 4, 2018                              s/Linda V. Parker
                                                U.S. DISTRICT JUDGE

                                    Certificate of Service

I hereby certify that on this date, May 4, 2018, a copy of the foregoing notice was
served upon the parties and/or counsel of record herein by electronic means or first
class U.S. mail.

                                                s/ R. Loury
                                                Case Manager
                                                (810) 341-7064




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